Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 1 of 21




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO

   Civil Action No.: 1:22-cv-02384-CNS-SKC

   MINCHIE GALOT CUPAT, Individually
   and on Behalf of All Others Similarly
   Situated,

                                   Plaintiff,
                        v.

   PALANTIR TECHNOLOGIES INC.,
   ALEXANDER C. KARP, DAVID
   GLAZER, and SHYAM SANKAR,

                                   Defendants.

   Civil Action No.: 1:22-cv-02805-SKC

   ALLEGHENY COUNTY EMPLOYEES’
   RETIREMENT SYSTEM, Individually and on
   Behalf of All Others Similarly Situated,

                                   Plaintiff,
                        v.

   PALANTIR TECHNOLOGIES INC.,
   ALEXANDER C. KARP, DAVID GLAZER,
   and SHYAM SANKAR,

                                   Defendants.
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 2 of 21




   Civil Action No.: 1:22-cv-02893-PAB-KLM

   SHIJUN LIU, INDIVIDUALLY AND AS
   TRUSTEE OF THE LIU FAMILY TRUST
   2019, Individually and on Behalf of All
   Others Similarly Situated,

                                   Plaintiff,
                      v.

   PALANTIR TECHNOLOGIES INC.,
   ALEXANDER KARP, STEPHEN COHEN,
   PETER THIEL, WILLIAM HO, KEVIN
   KAWASAKI, DAVID GLAZER, SHYAM
   SANKAR, ALEXANDER MOORE,
   SPENCER RASCOFF, and ALEXANDRA
   SCHIFF,

                                  Defendants.




         NOTICE OF MOTION AND MOTION OF ATEF ZAKHARY FOR
    CONSOLIDATION, APPOINTMENT AS LEAD PLAINTIFF, AND APPROVAL OF
     COUNSEL; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 3 of 21




                                                      TABLE OF CONTENTS

                                                                                                                                     Page(s)

   PRELIMINARY STATEMENT .....................................................................................................2

   STATEMENT OF FACTS ..............................................................................................................3

   ARGUMENT ...................................................................................................................................7

             A.         THE RELATED ACTIONS SHOULD BE CONSOLIDATED FOR ALL
                        PURPOSES ..............................................................................................................7

             B.         ZAKHARY SHOULD BE APPOINTED LEAD PLAINTIFF ...............................8

                        1.         Zakhary Is Willing to Serve as Class Representative ..................................9

                        2.         Zakhary Has the “Largest Financial Interest” ..............................................9

                        3.         Zakhary Otherwise Satisfies the Requirements of Rule 23 of the Federal
                                   Rules of Civil Procedure ............................................................................11

                        4.         Zakhary Will Fairly and Adequately Represent the Interests of the Class
                                   and Is Not Subject to Unique Defenses .....................................................13

             C.         LEAD PLAINTIFF’S SELECTION OF COUNSEL SHOULD BE APPROVED14

   CONCLUSION ..............................................................................................................................15




                                                                   i
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 4 of 21




                                                TABLE OF AUTHORITIES

                                                                                                                              Page(s)

   Cases

   Bassin v. Decode Genetics, Inc.,
      230 F.R.D. 313 (S.D.N.Y. 2005) ...............................................................................................8

   Beck v. Maximus, Inc.,
      457 F.3d 291 (3d Cir. 2006).....................................................................................................12

   Cooke v. Equal Energy Ltd., No. CIV-14-0047-C,
      2014 WL 3819159 (W.D. Okla. May 8, 2014) ..........................................................................7

   Darwin v. Taylor, No. 12-CV-01038-CMA-CBS,
      2012 WL 5250400 (D. Colo. Oct. 23, 2012) ...........................................................................10

   Friedman v. Quest Energy Ptnrs. LP,
       261 F.R.D. 607 (W.D. Okla. 2009) ..........................................................................................10

   In re Comverse Tech., Inc., Sec. Litig., No. 06-CV-1825 (NGG) (RER),
       2007 WL 680779 (E.D.N.Y. Mar. 2, 2007) .......................................................................10, 14

   In re GE Sec. Litig., No. 09 Civ. 1951 (DC),
       2009 WL 2259502 (S.D.N.Y. July 29, 2009) ........................................................................7, 8

   In re NPS Pharm., Inc. Sec. Litig., No. 2:06-CV-00570-PGCPMW,
       2006 WL 6627948 (D. Utah Nov. 17, 2006) .....................................................................10, 11

   In re Olsten Corp. Sec. Litig.,
       3 F. Supp. 2d 286 (E.D.N.Y. 1998) .........................................................................................10

   Lane v. Page,
      250 F.R.D. 634 (D.N.M. 2007) ..........................................................................................11, 14

   Lax v. First Merch. Acceptance Corp., No. 97 C 2715,
      1997 WL 461036 (N.D. Ill. Aug. 6, 1997) ..............................................................................10

   Malcolm v. Nat’l Gypsum Co.,
      995 F.2d 346 (2d Cir. 1993).......................................................................................................7

   Meyer v. Paradigm Med. Indus.,
      225 F.R.D. 678 (D. Utah 2004) .........................................................................................11, 12



                                                               ii
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 5 of 21




   Scuderi v. Mammoth Energy Servs., Inc., No. CIV-19-522-SLP,
      2019 WL 4397340 (W.D. Okla. Sept. 13, 2019) .......................................................................7

                                                                    Statutes

   15 U.S.C. § 78u-4 .................................................................................................................. passim

   Private Securities Litigation Reform Act of 1995 ................................................................. passim

                                                                      Rules

   Fed. R. Civ. P. 23 .............................................................................................................3, 8, 11, 12

   Fed. R. Civ. P. 42 .....................................................................................................................1, 2, 7




                                                                   iii
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 6 of 21




                               NOTICE OF MOTION AND MOTION

   TO: ALL PARTIES AND THEIR COUNSEL OF RECORD

          PLEASE TAKE NOTICE that Atef Zakhary (“Zakhary”), by and through his counsel,

   will and does hereby move this Court, pursuant to Federal Rule of Civil Procedure 42 (“Rule

   42”), and Section 21D(a)(3) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15

   U.S.C. § 78u–4(a)(3), as amended by the Private Securities Litigation Reform Act of 1995 (the

   “PSLRA”), for the entry of an Order: (1) consolidating the above-captioned related actions (the

   “Related Actions”); (2) appointing Zakhary as Lead Plaintiff on behalf of all persons and entities

   that purchased or otherwise acquired securities of Palantir Technologies Inc. (“Palantir”)

   between September 30, 2020 to August 5, 2022, both dates inclusive (the “Class Period”) (the

   “Class”); and (3) approving proposed Lead Plaintiff’s selection of Pomerantz LLP

   (“Pomerantz”) as Lead Counsel for the Class.1 This motion is supported by the memorandum of


   1
     The complaint in the first-filed of the Related Actions, styled Cupat v. Palantir Technologies
   Inc. et al, No. 1:22-cv-02384 (the “Cupat Action”), filed in this Court on September 15, 2022,
   alleges a class period that only includes persons and entities that purchased or otherwise acquired
   Palantir securities between November 9, 2021 and May 6, 2022, both dates inclusive. See Cupat
   Action, ECF No. 1. Then., on October 25, 2022, the complaint in the second-filed of the Related
   Actions was filed in this Court, styled Allegheny County Employees' Retirement System v.
   Palantir Technologies Inc. et al, No. 1:22-cv-02805 ( the “Allegheny” Action) alleging
   substantially the same wrongdoing as the Cupat Action against overlapping defendants, and with
   a larger class period including all persons and entities that purchased or otherwise acquired
   Palantir securities between February 16, 2021 and May 6, 2022, inclusive. See Cupat Action,
   ECF No. 1, Allegheny Action, ECF No. 1. Finally, on November 4, 2022, the complaint in the
   third-filed of the Related Actions was filed in this Court, styled Liu v. Palantir Technologies Inc.
   et al, No. 1:22-cv-02893 (the “Liu” Action) alleging substantially the same wrongdoing as the
   Cupat and Allegheny Actions against overlapping defendants, and with a larger class period
   including all persons and entities that purchased or otherwise acquired Palantir Class A common
   stock between September 30, 2020 to August 5, 2022, inclusive. See Cupat Action, ECF No. 1,
   Allegheny Action, ECF No. 1, Liu Action, ECF No. 1. Therefore, to avoid excluding any
   potential class members, this motion has adopted the larger class period alleged in the Liu
   Action.


                                                1
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 7 of 21




   points and authorities submitted herewith, the Declaration of Jeremy A. Lieberman (“Lieberman

   Decl.”), and all exhibits thereto.

       CERTIFICATION PURSUANT TO D.C.COLO.LCivR 7.1(a) AND § F.1 OF THIS
               COURT’S PRACTICE STANDARDS FOR CIVIL CASES

          Pursuant to D.C.COLO.LCivR 7.1(a) and § F.1 of this Court’s Practice Standards for

   Civil Cases, counsel for Zakhary state that they were not able to confer with counsel for the

   opposing movants prior to filing the instant motion. The statutory framework of the PSLRA

   requires all motions seeking Lead Plaintiff appointment to be filed within 60 days of the

   publication of the notice of pendency of the action. See 15 U.S.C. § 78u–4(a)(3)(A)(i)(II). No

   such motions were filed meaningfully in advance of Zakhary’s motion, and it was not possible to

   confer with counsel for the other movants to determine whether the instant motion would be

   opposed or to attempt to resolve the issues raised by the motion.

                       MEMORANDUM OF POINTS AND AUTHORITIES

                                    PRELIMINARY STATEMENT

          The complaints in the Related Actions allege that the above-captioned defendants

   (“Defendants”) defrauded investors in violation of the Exchange Act. See Cupat Action, ECF

   No. 1, Allegheny Action, ECF No. 1, Liu Action, ECF No. 1. Palantir investors, including

   Zakhary, incurred significant losses following the disclosure of the alleged fraud, which caused

   the prices of Palantir securities to fall sharply, damaging Zakhary and other Palantir investors.

          Consolidation is appropriate under Rule 42(a) where actions involve common questions

   of law or fact. See Fed. R. Civ. P. 42(a)(2). Here, the Related Actions are putative class actions

   alleging violations of the federal securities laws by an overlapping group of defendants arising




                                                2
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 8 of 21




   from substantively the same alleged wrongful misconduct. As such, the Related Actions involve

   common questions of both law and fact, and consolidation is plainly warranted.

          Pursuant to the PSLRA, the Court is to appoint as Lead Plaintiff the movant or group of

   movants that possesses the largest financial interest in the outcome of the Related Actions and

   that satisfies the requirements of Federal Rule of Civil Procedure 23 (“Rule 23”). 15 U.S.C. §

   78u–4(a)(3)(B)(iii)(I). In connection with his transactions in Palantir securities during the Class

   Period, Zakhary incurred losses of approximately $2,019,696. See Lieberman Decl., Exhibit

   (“Ex.”) A. Accordingly, Zakhary believes that he has the largest financial interest in the relief

   sought in the Related Actions. Beyond his considerable financial interest, Zakhary also meets

   the applicable requirements of Rule 23 because his claims are typical of absent Class members

   and because he will fairly and adequately represent the interests of the Class.

          To fulfill his obligations as Lead Plaintiff and vigorously prosecute the Related Actions

   on behalf of the Class, Zakhary has selected Pomerantz as Lead Counsel for the Class.

   Pomerantz is highly experienced in the area of securities litigation and class actions and has

   successfully prosecuted numerous securities litigations and securities fraud class actions on

   behalf of investors, as detailed in the firm’s resume.

          Accordingly, Zakhary respectfully requests that the Court enter an order consolidating

   the Related Actions, appointing him as Lead Plaintiff for the Class, and approving his selection

   of Pomerantz as Lead Counsel for the Class.

                                      STATEMENT OF FACTS

          As alleged in the complaint in the Cupat Action, Palantir builds and deploys software

   platforms to assist the U.S. intelligence community in counterterrorism investigations and



                                                 3
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 9 of 21




   operations. Cupat Action, ECF No. 1, ¶ 2. The Company has two operating segments,

   commercial and government, with the latter primarily serving agencies in the U.S. federal

   government and non-U.S. governments. Id. Palantir also invests in so-called “marketable

   securities” consisting of equity securities in publicly-traded companies. Id.

          Palantir has consistently described sources of geopolitical instability and other

   disruptions—e.g., armed conflicts, economic crises, and the COVID-19 pandemic—as

   tailwinds for its business, given that the Company’s products and services are purportedly built

   to aid its customers in assessing and responding to such disruptions. Id. ¶ 3.

          Throughout the Class Period, Defendants made materially false and misleading

   statements regarding the Company’s business, operations, and prospects. Id. ¶ 4. Specifically,

   Defendants made false and/or misleading statements and/or failed to disclose that: (i) Palantir’s

   investments in marketable securities were having a significant negative impact on the

   Company’s earnings per share (“EPS”) results; (ii) Palantir overstated the sustainability of its

   government segment’s growth and revenues; (iii) Palantir was experiencing a significant

   slowdown in revenue growth, particularly among its government customers, despite

   ongoing global conflicts and market disruptions; (iv) as a result of all the foregoing, the

   Company was likely to miss consensus estimates for its first quarter 2022 (“Q1”) EPS and

   second quarter 2022 (“Q2”) sales outlook; and (v) as a result, the Company’s public statements

   were materially false and misleading at all relevant times. Id.

          On May 9, 2022, Palantir issued a press release announcing its Q1 financial results and

   guidance for Q2. Id. ¶ 5. For Q1, Palantir announced adjusted EPS of $0.02, compared to

   analyst estimates of $0.04 per share, noting on a conference call that the “[f]irst quarter



                                               4
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 10 of 21




   adjusted [EPS of] $0.02 . . . includes a negative $0.02 impact driven primarily by unrealized

   losses on marketable securities.” Id. The Company also disclosed that government revenue

   grew by only 16% year-over-year for Q1, representing a significant slowdown in revenue

   growth compared to prior quarters, and that, for Q2, the Company expected $470 million in

   sales, compared to estimates of $483.76 million. Id.

          On this news, Palantir’s stock price fell $2.02 per share, or 21.31%, to close at $7.46

   per share on May 9, 2022. Id. ¶ 6.

          As multiple news outlets reported that day, Palantir’s significant decline in revenue

   growth, particularly from its government customers, surprised investors, especially given the

   ongoing geopolitical instability and other disruptions caused by, inter alia, the ongoing

   COVID-9 pandemic and Russo-Ukrainian War—that is, precisely the type of destabilizing

   conditions that the Company had previously touted as tailwinds for its business. Id. ¶ 7.

          Then, as alleged in the complaint in the Liu Action, on August 8, 2022, Palantir issued

   a press release providing the Company’s financial results for the second quarter ended June 30,

   2022 (the “2Q22 Release”). Liu Action, ECF No. 1, ¶ 100. The 2Q22 Release stated Palantir

   expected 2022 revenues to be in a range of $1.9 billion to $1.902 billion, which would

   represent an annual year-over-year revenue growth rate of only 23%. Id. The release further

   stated that the “revised guidance excludes any new major U.S. government awards.”           Id.

   Notably, the revised guidance was substantially below the Company’s long-term annual

   revenue guidance of at least 30%, despite defendants’ reaffirming this figure nearly halfway

   through the quarter, and the release did not state that this growth rate was achievable

   for subsequent years. Id. According to an analyst report issued by Morgan Stanley, the



                                              5
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 11 of 21




   failure to reiterate the Company’s heavily touted long-term revenue growth rate “suggests that

   management believes the sales environment could prove challenging not just for the next few

   quarters but potentially beyond.” Id. In a related earnings call, Palantir executives admitted

   that the Company’s deal value remained “roughly flat quarter-over-quarter” at $3.5 billion. Id.

          On August 9, 2022, analysts at RBC Capital Markets published an analyst report that

   provided a deep dive into Palantir’s SPAC Investment Strategy. Id. ¶ 101. The report stated:

   “Most importantly, we estimate the SPAC-related [total contract value] potentially at-risk of

   not fully converting into revenue is $406M (note some of this may have already been

   recognized) and count at least 15 SPAC customers that have substantial doubt as going

   concerns (based on their respective filings).”      Id.   The report continued: “21 of these

   companies are now publicly listed; none of the 20 listed SPACs are trading above their $10

   reference price (the vast majority are now trading in the <$5 penny stock range).” Id.

          The price of Palantir Class A common stock plummeted on this news, falling 19% over

   two trading days to $9.25 per share by market close on August 9, 2022, on abnormally high

   trading volume. Id. ¶ 102.

          On September 23, 2022, the price of Palantir Class A common stock fell to a low of just

   $7.13 per share, 84% below the Class Period high. Id. ¶ 103.

          As a result of Defendants’ wrongful acts and omissions, and the precipitous decline in the

   market value of the Company’s securities, the plaintiffs in the Related Actions and other Class

   members have suffered significant losses and damages.




                                              6
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 12 of 21




                                               ARGUMENT

          A.      THE RELATED ACTIONS SHOULD BE CONSOLIDATED FOR ALL
                  PURPOSES

          Consolidation of related cases is appropriate where, as here, the actions involve common

   questions of law and fact, and therefore consolidation would avoid unnecessary cost, delay, and

   overlap in adjudication: “If actions before the court involve a common question of law or fact,

   the court may: (1) join for hearing or trial any or all matters at issue in the actions; (2)

   consolidate the actions; or (3) issue any other orders to avoid unnecessary cost or delay.” Fed. R.

   Civ. P. 42(a); see also Manual for Complex Litigation (Third) § 20.123 (1995).

          Consolidation is appropriate when the actions before the court involve common questions

   of law or fact. See Fed. R. Civ. P. 42 (a); Malcolm v. Nat’l Gypsum Co., 995 F.2d 346, 350 (2d

   Cir. 1993) (citing Johnson v. Celotex Corp., 899 F.2d 1281, 1284 (2d Cir. 1990)); Scuderi v.

   Mammoth Energy Servs., Inc., No. CIV-19-522-SLP, 2019 WL 4397340, at *1-*2 (W.D. Okla.

   Sept. 13, 2019); Cooke v. Equal Energy Ltd., No. CIV-14-0047-C, 2014 WL 3819159, at *1

   (W.D. Okla. May 8, 2014). Differences in causes of action, defendants, or the class period do

   not render consolidation inappropriate if the cases present sufficiently common questions of fact

   and law, and the differences do not outweigh the interest of judicial economy served by

   consolidation. See In re GE Sec. Litig., No. 09 Civ. 1951 (DC), 2009 WL 2259502, at *1–3

   (S.D.N.Y. July 29, 2009) (consolidating actions asserting different claims against different

   defendants over different class periods).

          The Related Actions at issue here clearly involve common questions of law and fact.

   Each action is brought against the Company, as well as certain officers of the Company, in

   connection with violations of the federal securities laws. Accordingly, the Related Actions


                                                7
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 13 of 21




   allege substantially the same wrongdoing, namely that defendants issued materially false and

   misleading statements and omissions that artificially inflated the price of Palantir’ securities and

   subsequently damaged the Class when the Company’s share price plummeted as the truth

   emerged. Consolidation of the Related Actions is therefore appropriate. See Bassin v. Decode

   Genetics, Inc., 230 F.R.D. 313, 315 (S.D.N.Y. 2005) (consolidation of securities class actions is

   particularly appropriate in the context of securities class actions where the complaints are based

   on the same statements and the defendants will not be prejudiced); GE, 2009 WL 2259502), at

   *2 (“Consolidation promotes judicial convenience and avoids unnecessary costs to the parties.”).

          B.        ZAKHARY SHOULD BE APPOINTED LEAD PLAINTIFF

          Zakhary should be appointed Lead Plaintiff because he has the largest financial interest in

   the Related Actions to his knowledge and otherwise meets the requirements of Rule 23. Section

   21D(a)(3)(B) of the PSLRA sets forth procedures for the selection of the Lead Plaintiff in class

   actions brought under the Exchange Act. The PSLRA directs courts to consider any motion to

   serve as Lead Plaintiff filed by class members in response to a published notice of the class

   action by the later of (i) 90 days after the date of publication, or (ii) as soon as practicable after

   the Court decides any pending motion to consolidate. See 15 U.S.C. § 78u–4(a)(3)(B)(i)-(ii).

          Further, under 15 U.S.C. § 78u–4(a)(3)(B)(iii)(I), the Court is directed to consider all

   motions by plaintiffs or purported class members to appoint lead plaintiff filed in response to any

   such notice. Under this section, the Court “shall” appoint “the presumptively most adequate

   plaintiff” to serve as lead plaintiff and shall presume that plaintiff is the person or group of

   persons, that:

                    (aa) has either filed the complaint or made a motion in response to
                    a notice . . .;


                                                 8
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 14 of 21




                  (bb) in the determination of the Court, has the largest financial
                  interest in the relief sought by the class; and

                  (cc) otherwise satisfies the requirements of Rule 23 of the Federal
                  Rules of Civil Procedure.

   15 U.S.C. § 78u–4(a)(3)(B)(iii)(I).

          As set forth below, Zakhary satisfies all three of these criteria and thus is entitled to the

   presumption that he is the most adequate plaintiff of the Class and, therefore, should be

   appointed Lead Plaintiff for the Class.

                  1.      Zakhary Is Willing to Serve as Class Representative

          On September 15, 2022, Pomerantz, counsel for the plaintiff in the Cupat Action, caused

   a notice to be published over Globe Newswire pursuant to Section 21D(a)(3)(A)(i) of the PSLRA

   (the “Notice”), which announced that a securities class action had been filed against the

   Company and certain of its officers, and advised investors of Palantir securities that they had

   until November 14, 2022—i.e., sixty days from the date of the Notice’s publication—to file a

   motion to be appointed as Lead Plaintiff. See Lieberman Decl., Ex. B.

          Zakhary has filed the instant motion pursuant to the Notice, and has submitted a signed

   Certification attesting that he is willing to serve as a representative for the Class, and to provide

   testimony at deposition and trial, if necessary. See id., Ex. C. Accordingly, Zakhary satisfies the

   first requirement to serve as Lead Plaintiff of the Class.

                  2.      Zakhary Has the “Largest Financial Interest”

          The PSLRA requires a court to adopt a rebuttable presumption that “the most adequate

   plaintiff . . . is the person or group of persons that . . . has the largest financial interest in the

   relief sought by the class.” 15 U.S.C. § 78u–4(a)(3)(B)(iii). As of the time of the filing of this




                                                 9
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 15 of 21




   motion, Zakhary believes that he has the largest financial interest of any of the Lead Plaintiff

   movants based on the four factors articulated in the seminal case Lax v. First Merch. Acceptance

   Corp., No. 97 C 2715, 1997 WL 461036, at *5 (N.D. Ill. Aug. 6, 1997) (financial interest may be

   determined by (1) the number of shares purchased during the class period; (2) the number of net

   shares purchased during the class period; (3) the total net funds expended during the class period;

   and (4) the approximate losses suffered).2 The most critical among the Lax Factors is the

   approximate loss suffered. See, e.g., Darwin v. Taylor, No. 12-CV-01038-CMA-CBS, 2012 WL

   5250400, at *2 (D. Colo. Oct. 23, 2012) (“[C]ourts routinely look to the movant’s financial loss

   as the most significant factor in assessing his financial interest in the action.”); Friedman v.

   Quest Energy Ptnrs. LP, 261 F.R.D. 607, 614 (W.D. Okla. 2009) (equating financial interest

   with economic loss); In re NPS Pharm., Inc. Sec. Litig., No. 2:06-CV-00570-PGCPMW, 2006

   WL 6627948, at *1-*2 (D. Utah Nov. 17, 2006) (same).

           During the Class Period, Zakhary: (1) purchased 287,657 shares of Palantir stock; (2)

   expended $7,167,467 on his purchases of Palantir stock; (3) retained 65,000 shares of his

   Palantir stock; and (4) as a result of the disclosures of the fraud, suffered a loss of approximately

   $2,019,696 in connection with his Class Period purchases of Palantir securities. See Lieberman

   Decl., Ex. A. Because Zakhary possesses the largest financial interest in the outcome of this

   litigation, he may be presumed to be the “most adequate” plaintiff.             15 U.S.C. § 78u–

   4(a)(3)(B)(iii)(I)(bb).




   2
     See also In re Olsten Corp. Sec. Litig., 3 F. Supp. 2d 286, 295 (E.D.N.Y. 1998); accord In re
   Comverse Tech., Inc., Sec. Litig., No. 06-CV-1825 (NGG) (RER), 2007 WL 680779, at *6–8
   (E.D.N.Y. Mar. 2, 2007) (collectively, the “Lax-Olsten” factors).


                                                10
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 16 of 21




                  3.        Zakhary Otherwise Satisfies the Requirements of Rule 23 of the
                            Federal Rules of Civil Procedure

           Section 21D(a)(3)(B)(iii)(I)(cc) of the PSLRA further provides that, in addition to

   possessing the largest financial interest in the outcome of the litigation, a Lead Plaintiff must

   “otherwise satisfy the requirements of Rule 23 of the Federal Rules of Civil Procedure.” Rule

   23(a) generally provides that a class action may proceed if the following four requirements are

   satisfied:

                  (1) the class is so numerous that joinder of all members is
                  impracticable, (2) there are questions of law or fact common to the
                  class, (3) the claims or defenses of the representative parties are
                  typical of the claims or defenses of the class, and (4) the
                  representative parties will fairly and adequately protect the
                  interests of the class.

   Fed. R. Civ. P. 23(a).

           In making its determination that a Lead Plaintiff satisfies the requirements of Rule 23, the

   Court need not raise its inquiry to the level required in ruling on a motion for class certification;

   instead a prima facie showing that the movant satisfies the requirements of Rule 23 is sufficient.

   See Lane v. Page, 250 F.R.D. 634, 640 (D.N.M. 2007).              Moreover, “only subsection (3)

   (‘typicality’) and subsection (4) (‘adequacy’) are relevant to the consideration of motions for

   appointment as lead plaintiff.” NPS, 2006 WL 6627948, at *2 (citing Meyer v. Paradigm Med.

   Indus., 225 F.R.D. 678, 680 (D. Utah 2004) (“For the purposes of a motion for appointment of

   lead plaintiff under Rule 23, it is proper to limit a court’s inquiry into the final two prongs of

   Rule 23(a), typicality and adequacy.”)).

            The typicality requirement of Rule 23(a)(3) is satisfied when “the ‘injury and the

   conduct are sufficiently similar.’” Meyer, 225 F.R.D. at 680 (quoting Adamson v. Bowen, 855



                                                11
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 17 of 21




   F.2d 668, 767 (10th Cir. 1988)). In other words, “the named plaintiffs’ claims [must be] typical,

   in common-sense terms, of the class, thus suggesting that the incentives of the plaintiffs are

   aligned with those of the class.” Beck v. Maximus, Inc., 457 F.3d 291, 295-96 (3d Cir. 2006)

   (quoting Baby Neal v. Casey, 43 F.3d 48, 55 (3d Cir. 1994)). In addition, “a difference in the

   factual situations of class members per se, does not defeat typicality under Rule 23(a)(3) . . . as

   long as the claims of class representatives and other class members are based on the same legal

   or remedial theory.” Meyer, 225 F.R.D. at 680.

          The claims of Zakhary are typical of those of the Class. Zakhary alleges, as do all Class

   members, that Defendants violated the Exchange Act by making what they knew or should have

   known were false or misleading statements of material facts concerning Palantir, or by omitting

   to state material facts necessary to make the statements they did make not misleading. Zakhary,

   as did all Class members, purchased Palantir securities during the Class Period at prices

   artificially inflated by defendants’ misrepresentations or omissions and was damaged upon the

   disclosure of those misrepresentations and/or omissions. These shared claims, which are based

   on the same legal theory and arise from the same events and course of conduct as the Class’s

   claims, satisfy the typicality requirement of Rule 23(a)(3).

          The adequacy of representation requirement of Rule 23(a)(4) is satisfied “by fulfilling

   two requirements. First, there must be an absence of potential conflict between the named

   plaintiffs and other class members. Second, the counsel chosen by the representative party must

   be ‘qualified, experienced and able to vigorously conduct the proposed litigation.’” Meyer, 225

   F.R.D. at 681 (quoting In re Ribozyme Pharm. Sec. Litig., 192 F.R.D. 656, 659 (D. Colo. 2000)).




                                                12
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 18 of 21




           Zakhary is an adequate representative for the Class. There is no antagonism between the

   interests of Zakhary and those of the Class, and his losses demonstrate that he has a sufficient

   interest in the outcome of this litigation.       Moreover, Zakhary has retained counsel highly

   experienced in vigorously and efficiently prosecuting securities class actions such as these

   Related Actions, and submits his choice of Pomerantz to the Court for approval as Lead Counsel

   pursuant to 15 U.S.C. § 78u–4(a)(3)(B)(v).

           Further demonstrating his adequacy, Zakhary has submitted a Declaration attesting to,

   inter alia, his background, his investing experience, his understanding of the responsibilities of a

   Lead Plaintiff pursuant to the PSLRA, his decision to seek appointment as Lead Plaintiff, and the

   steps that he is prepared to take to prosecute this litigation on behalf of the Class. See Lieberman

   Decl., Ex. D.

                   4.     Zakhary Will Fairly and Adequately Represent the Interests of the
                          Class and Is Not Subject to Unique Defenses

           The presumption in favor of appointing Zakhary as Lead Plaintiff may be rebutted only

   upon proof “by a member of the purported plaintiff class” that the presumptively most adequate

   plaintiff:

                   (aa) will not fairly and adequately protect the interest of the
                   class; or

                   (bb) is subject to unique defenses that render such plaintiff
                   incapable of adequately representing the class.

   15 U.S.C. § 78u–4(a)(3)(B)(iii)(II).

           The ability and desire of Zakhary to fairly and adequately represent the Class has been

   discussed above. Zakhary is not aware of any unique defenses Defendants could raise that would




                                                13
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 19 of 21




   render him inadequate to represent the Class. Accordingly, Zakhary should be appointed Lead

   Plaintiff for the Class.

           C.      LEAD PLAINTIFF’S SELECTION OF COUNSEL SHOULD BE
                   APPROVED

           The PSLRA vests authority in the Lead Plaintiff to select and retain lead counsel, subject

   to the approval of the Court. See 15 U.S.C. § 78u-4(a)(3)(B)(v); Lane, 250 F.R.D. at 647 (“[T]he

   PSLRA ‘evidences a strong presumption in favor of approving a properly-selected lead

   plaintiff’s decisions as to counsel selection and counsel retention.’” (quoting In re Cendant Corp.

   Litig., 264 F.3d 201, 276 (3d Cir. 2001))). The Court should interfere with Lead Plaintiff’s

   selection only when necessary to “protect the interests of the class.”           15 U.S.C. § 78u-

   4(a)(3)(B)(iii)(II)(aa).

           Zakhary has selected Pomerantz as Lead Counsel for the Class. Pomerantz is a premier

   firm, highly experienced in the areas of securities litigation and class action lawsuits, which has

   successfully prosecuted numerous such actions on behalf of investors over its 80+ year history,

   as detailed in its firm resume. See Lieberman Decl., Ex. E. Pomerantz recently secured a

   recovery of $3 billion on behalf of investors in the securities of Petróleo Brasileiro S.A. —

   Petrobras, the largest class action settlement in a decade and the largest settlement ever in a class

   action involving a foreign issuer. See id. Petrobras is part of a long line of record-setting

   recoveries led by Pomerantz, including the $225 million settlement in In re Comverse

   Technology, Inc. Securities Litigation, No. 06-CV-1825 (E.D.N.Y.), in June 2010. Id. More

   recently, Pomerantz announced as Lead Counsel on behalf of a class of Fiat Chrysler

   Automobiles N.V. investors that it has reached a $110 million settlement with the company. See

   id. As a result of its extensive experience in similar litigation, Zakhary’s choice of counsel,


                                                14
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 20 of 21




   Pomerantz, has the skill, knowledge, expertise, resources, and experience that will enable the

   firm to prosecute the Class’s claims in this litigation effectively and expeditiously. The Court

   may be assured that by approving Zakhary’s selection of Pomerantz as Lead Counsel, the Class

   members will receive the best legal representation available. Thus, Zakhary respectfully urges

   the Court to appoint Pomerantz to serve as Lead Counsel.

                                           CONCLUSION

          For the foregoing reasons, Zakhary respectfully requests that the Court issue an Order:

   (1) consolidating the Related Actions; (2) appointing Zakhary as Lead Plaintiff for the Class; and

   (3) approving Pomerantz as Lead Counsel for the Class.

   Dated: November 14, 2022                     Respectfully submitted,

                                                POMERANTZ LLP

                                                /s/ Jeremy A. Lieberman
                                                Jeremy A. Lieberman
                                                J. Alexander Hood II
                                                600 Third Avenue, 20th Floor
                                                New York, New York 10016
                                                Telephone: (212) 661-1100
                                                Facsimile: (917) 463-1044
                                                jalieberman@pomlaw.com
                                                ahood@pomlaw.com

                                                Counsel for Atef Zakhary and
                                                Proposed Lead Counsel for the Class




                                              15
Case 1:22-cv-02384-CNS-SKC Document 13 Filed 11/14/22 USDC Colorado Page 21 of 21




                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 14th day of November, 2022, a true and correct copy of the

   foregoing NOTICE OF MOTION AND MOTION OF ATEF ZAKHARY FOR

   CONSOLIDATION, APPOINTMENT AS LEAD PLAINTIFF, AND APPROVAL OF

   COUNSEL; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT was e-

   filed with the Clerk of Court via the CM/ECF System which will send notification of such filing

   to all counsel of record.




                                             16
